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FILED

UNITED STATES DISTRICT COURT MAR 23 2016 7
NORTHERN DISTRICT OF ILLINOIS THOMAS G
EASTERN DIVISION CLERK. US DISTRICT oT

UNITED STATES OF AMERICA
. No. 15 CR 154

Judge Thomas M. Durkin

MAGISTRATE JUDGE BRO!

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Vv. )
) Violation: Title 18, United States Code,
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)

RICHARD MARC HAMID, and
JOSEPH GURDAK

Sections 1341; Title 26, United
States Code, Section 7206(1); and Title 31,
United States Code, Section 5324

SUPERSEDING INDICTMENT

COUNT ONE

The SPECIAL FEBRUARY 2016 GRAND JURY charges:

1. At times material to this indictment:

ee ‘a. Defendant RICHARD MARC HAMID, an attorney licensed to practice law"

in Illinois, owned an interest in and controlled various companies that purchased and re-sold
tickets to entertainment and sporting events, including JustGreatTickets.com, Inc., and Just Great
Seats, LLC.

b. Defendant HAMID owned an interest in and controlled Right Field
Properties, LLC, a company that owned the real property located at 3627 North Sheffield Avenue
in Chicago, adjacent to Wrigley Field.

ee Defendant HAMID owned an interest in and controlled Right Field
Rooftops, LLC, doing business as “Skybox on Sheffield,” located at 3627 North Sheffield Avenue

in Chicago, a rooftop entertainment venue located adjacent to Wrigley Field.
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d. ‘Skybox on Sheffield charged customers a fee for admission that included
access to the roof level and other areas of the venue to watch Chicago Cubs baseball games and
other events occurring live at Wrigley Field, as well as food and drink.

e. Skybox on Sheffield was the assignee of an agreement that governed the
business relationships between the Cubs and each of the rooftops located adjacent to Wrigley
Field, including Skybox on Sheffield. Pursuant to the Cubs agreement, Skybox on Sheffield was
required, among other things, (1) to pay the Cubs, on an annual basis, a royalty of 17% of Skybox
on Sheffield’s gross revenues, and (2) to provide the Cubs, by December 15 of every calendar year,
a written season royalty statement that included, for the preceding baseball season, the attendance
at Skybox on Sheffield for every event and the total gross revenues for the season.

f. The City of Chicago municipal code sections applicable to the rooftops
adjacent to Wrigley Field permitted Skybox on Sheffield to provide services for up to 200 persons
per event.

g. The City of Chicago required Skybox on Sheffield to collect from patrons
and pay to the City of Chicago an amusement tax on admission fees, and to report such fees
collected and taxes owed in amusement tax returns filed with the City of Chicago.

h. Cook County required Skybox on Sheffield to collect from patrons and pay
to Cook County an amusement tax on admission fees, and to report such fees collected and taxes
owed in amusement tax returns filed with Cook County.

i, The State of Illinois required Skybox on Sheffield to file sales tax returns
and to pay the State of Illinois a set dollar amount per event attendee allocated for food and

beverage sold.
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j- Individuals A, B, and C were employees of Skybox on Sheffield who
reported to setiontint HAMID.

k. Defendant JOSEPH GURDAK was a certified public accountant licensed
and registered in Illinois who performed accounting work for defendant HAMID and his
businesses, including, among other things, preparing defendant HAMID’s personal tax returns,
preparing general ledgers and tax returns for defendant HAMID’s businesses, and preparing the
annual season royalty statements that Skybox on Sheffield submitted to the Cubs.

2. Beginning no later than in or about 2007 and continuing until on or about March 26,
2015, in the Northern District of Illinois, Eastern Division, and elsewhere,

RICHARD MARC HAMID, and
JOSEPH GURDAK,

defendants herein, devised, intended to devise, and participated in a scheme to defraud the Cubs,
the State of Illinois, Cook County, and the City of Chicago, and to obtain money and property from
the Cubs, the State of Illinois, Cook County and the City of Chicago, by means of materially false
and fraudulent pretenses, representations, and promises, which scheme is further described below.

3. It was part of the scheme that for the years 2008 through 2012 defendants HAMID,
GURDAK and others, caused Skybox on Sheffield to submit false and fraudulent annual royalty
statements to the Cubs that under-reported event attendance figures for Skybox on Sheffield by
thousands of paid attendees, and under-reported gross revenues for Skybox on Sheffield by more
than $1.5 million. During this time period, defendant HAMID caused Skybox on Sheffield to file
false sales tax and amusement tax returns with state and local taxing authorities that similarly
under-reported attendance and revenue figures. By concealing the actual revenues of Skybox on

Sheffield from the Cubs, and state, county and local taxing authorities, defendants HAMID and
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GURDAK caused Skybox on Sheffield to unlawfully withhold hundreds of thousands of dollars’
worth of royalty payments rightfully owed to the Cubs under the terms of the Cubs agreement, and
defendants HAMID and GURDAK caused Skybox on Sheffield to unlawfully withhold hundreds
of thousands of dollars due and owing to state, county and local taxing authorities. Defendant
HAMID caused Skybox on Sheffield to use those unlawfully withheld funds, totaling
approximately $600,000, to pay defendant HAMID’s personal expenses, and expenses for Skybox
on Sheffield and defendant HAMID’s other businesses.

4. It was further part of the scheme that defendant HAMID processed and recorded
and caused Individuals A, B, and C to process and record sales for more than 200 attendees for
events at Skybox on Sheffield, and to admit more than 200 persons for certain events at Skybox on
Sheffield.

5. It was further part of the scheme that defendants HAMID and GURDAK prepared
annual royalty statements to the Cubs that falsely stated 200 or fewer persons had attended and
paid to attend events at Skybox on Sheffield, when defendants knew that more than 200 persons
had attended and paid to attend the events.

6. It was further part of the scheme that defendant HAMID diverted and caused
Individuals B and C to divert sales revenues from Skybox on Sheffield to other recipients,
including defendant’s other businesses such as Just Great Tickets and Just Great Seats, to conceal
the revenues from the Cubs and others, and to avoid reporting the revenues in annual royalty
statements to the Cubs.

Te It was further part of the scheme that defendant HAMID, to conceal revenues
from the Cubs and others, and to avoid reporting the revenues in annual royalty statements to the
Cubs, aiiered and caused Individuals B and C to alter certain Skybox on Sheffield invoices to

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reflect an amount of $0, when defendant knew that customers paid hundreds or thousands of
dollars for those Skybox on Sheffield reservations.

8. It was further part of the scheme that defendants HAMID and GURDAK prepared
and submitted annual royalty statements to the Cubs that under-reported Skybox on Sheffield’s
gross revenues.

9. It was further part of the scheme that defendants HAMID and GURDAK paid and
caused Skybox on Sheffield to pay the Cubs 17% of the purported gross revenues of Skybox on
Sheffield for a particular baseball season, when defendants HAMID and GURDAK knew that the
reported gross revenue figures upon which the annual 17% royalty payment were based were
falsely under-reported, and Skybox on Sheffield was required to pay the Cubs more than it actually
paid the Cubs for the particular season.

10. ‘It was further part of the scheme that defendant HAMID caused Skybox on
Sheffield to use royalty funds rightfully owed to the Cubs under the terms of the Cubs agreement
to pay business expenses of Skybox on Sheffield and other businesses owned by defendant
HAMID, and to pay defendant HAMID’s personal expenses, instead of paying those funds over to
the Cubs as required under the terms of the Cubs agreement.

11. — It was further part of the scheme that, when the Cubs opted to perform an audit of
Skybox on Sheffield pursuant to the Cubs agreement, defendants HAMID and GURDAK caused
false and fraudulent documents that under-reported attendance and gross revenue for Skybox on
Sheffield to be created for and provided to auditors for the Cubs.

12. It was further part of the scheme that defendant HAMID caused defendant

GURDAK to prepare and file false amusement tax returns with the City of Chicago that falsely
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under-reported Skybox on Sheffield admission fees, and caused Skybox on Sheffield to fail to pay
over to the City of Chicago amusement taxes due and owing.

13. It was further part of the scheme that defendant HAMID caused defendant
GURDAK to prepare and file false amusement tax returns with Cook County that falsely
under-reported Skybox on Sheffield admission fees, and caused Skybox on Sheffield to fail to pay
over to Cook County amusement taxes due and owing.

14. It was further part of the scheme that defendant HAMID caused defendant
GURDAK to prepare and file false sales tax returns with the State of Illinois that falsely
under-reported sales taxes due and owing from Skybox on Sheffield, and caused Skybox on
Sheffield to fail to pay over to the State of Illinois sales taxes due and owing.

15. It was further part of the scheme that defendants HAMID and GURDAK did
misrepresent, conceal, and hide, and caused to be misrepresented, concealed, and hidden, acts
done in furtherance of the scheme and the purpose of those acts.

16. On or about December 18, 2008, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,
RICHARD MARC HAMID

defendant herein, for the purpose of executing the scheme to defraud, knowingly delivered and
caused to be delivered by United Parcel Service, an interstate commercial carrier, according to
the directions thereon, an envelope containing the 2008 season royalty statement for Skybox on
Sheffield, addressed to the Chicago Cubs, 1060 West Addison Street, Chicago, IL 60613;

In violation of Title 18, United States Code, Section 1341.
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COUNT TWO

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

1. The allegations of paragraphs 1 through 15 of Count One of this indictment are
incorporated here.

De On or about December 15, 2009, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

RICHARD MARC HAMID,
defendant herein, for the purpose of executing the scheme to defraud, knowingly delivered and
caused to be delivered by United Parcel Service, an interstate commercial carrier, according to
the directions thereon, an envelope containing the 2009 season royalty statement for Skybox on
Sheffield, addressed to the Chicago Cubs, 1060 West Addison Street, Chicago, IL 60613;

In violation of Title 18, United States Code, Section 1341.
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COUNT THREE

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

1. The allegations of paragraphs | through 15 of Count One of this indictment are
incorporated here.

2. On or about December 15, 2010, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

RICHARD MARC HAMID,
defendant herein, for the purpose of executing the scheme to defraud, knowingly delivered and
caused to be delivered by United Parcel Service, an interstate commercial carrier, according to
the directions thereon, an envelope containing the 2010 season royalty statement for Skybox on
Sheffield, addressed to the Chicago Cubs, 1060 West Addison Street, Chicago, IL 60613;

In violation of Title 18, United States Code, Section 1341.
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COUNT FOUR

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

L. The allegations of paragraphs 1 through 15 of Count One of this indictment are
incorporated here.

2. On or about December 15, 2011, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

RICHARD MARC HAMID, and
JOSEPH GURDAK,

defendants herein, for the purpose of executing the scheme to defraud, knowingly delivered and
caused to be delivered by United Parcel Service, an interstate commercial carrier, according to
the directions thereon, an envelope containing the 2011 season royalty statement for Skybox on
Sheffield, addressed to the Chicago Cubs, 1060 West Addison Street, Chicago, IL 60613;

In violation of Title 18, United States Code, Section 1341.
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COUNT FIVE

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

I; The allegations of paragraphs 1 through 15 of Count One of this indictment are
incorporated here.

2. On or about May 16, 2012, at Chicago, in the Northern District of Illinois, Eastern

Division, and elsewhere,

RICHARD MARC HAMID,
defendant herein, for the purpose of executing the scheme to defraud, knowingly delivered and
caused to be delivered by the United States Postal Service, an interstate commercial carrier,
according to the directions thereon, an envelope containing the April 2012 amusement tax return
for Skybox on Sheffield, addressed to the Cook County Department of Revenue, Amusement
Tax, 25394 Network Place, Chicago, Illinois, 60673 - 1253;

In violation of Title 18, United States Code, Section 1341.

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COUNT SIX
The SPECIAL FEBRUARY 2016 GRAND JURY further charges:
1. The allegations of paragraphs 1 through 15 of Count One of this indictment are
incorporated here.
2. On or about June 20, 2012, at Chicago, in the Northern District of Illinois, Eastern

Division, and elsewhere,

RICHARD MARC HAMID,
defendant herein, for the purpose of executing the scheme to defraud, knowingly delivered and
caused to be delivered by the United States Postal Service, an interstate commercial carrier,
according to the directions thereon, an envelope containing the May 2012 amusement tax return
for Skybox on Sheffield, addressed to the Cook County Department of Revenue, Amusement
Tax, 25394 Network Place, Chicago, Illinois, 60673 — 1253;

In violation of Title 18, United States Code, Section 1341.

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COUNT SEVEN

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

1. The allegations of paragraphs 1(a), (b), and (c) of Count One of this indictment are
incorporated here.

Ds Title 31, United States Code, Section 5331(a)(1) required that any person who is
engaged in a trade or business, and who, in the course of such trade or business, received more than
$10,000 in United States currency in one transaction (or two or more related transactions), file an
IRS Form 8300 with the IRS.

3. From approximately May 2011 until at least September 2012, defendant
RICHARD MARC HAMID maintained bank accounts under the name Right Field Rooftops at
MB Financial, Just Great Seats at Republic Bank, justgreattickets.com at MB Financial, Wrigley
View Tickets at Associated Bank, Marc Hamid at Republic Bank, and Mare Hamid at MB
Financial.

4. Title 31, United States Code, Section 5313, and Title 31, Code of Federal
Regulations, Parts 103.22(b)(1) and 103.27(a) required that a financial institution that
engaged in a currency transaction involving more than $10,000 in U.S. Currency file a report of
the transaction with the Internal Revenue Service.

5. Republic Bank, MB Financial, and Associated Bank were domestic financial
institutions subject to the Currency Transaction Reporting requirements described in the preceding

paragraph.

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6. From on or about October 31, 2011 to November 1, 2011, in the Northern District
of Illinois, Eastern Division,
RICHARD MARC HAMID,
defendant herein, knowingly and for the purpose of evading the reporting requirements of Title 31,
United States Code, Section 5313(a) and the regulations prescribed thereunder, structured and
assisted in structuring transactions at MB Financial and Republic Bank by depositing and causing

to deposit $16,000 in United States currency in amounts under $10,000 as set forth below:

Date Bank Account Amount
10/31/2011 Republic Bank Marc Hamid $5,000
10/31/2011 MB Financial Mare Hamid $5,000
11/1/2011 MB Financial March Hamid $6,000

All in violation of Title 31, United States Code, Sections 5324(a)(3).

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COUNT EIGHT

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:
1. The allegations of paragraphs 1(a), (b), and (c) of Count One and paragraphs 1
through 5 of Count Seven are incorporated here.
2. On or about January 17, 2012, in the Northern District of Illinois, Eastern Division,
RICHARD MARC HAMID,
defendant herein, knowingly and for the purpose of evading the reporting requirements of Title 31,
United States Code, Section 5313(a) and the regulations prescribed thereunder, structured and

assisted in structuring transactions at MB Financial, Republic Bank and Associated Bank by

depositing and causing to deposit $22,500 in United States currency in amounts under $10,000 as

set forth below:

Date Bank Account Amount
1/17/2012 Republic Bank Marc Hamid $7,500
1/17/2012 MB Financial Justgreattickets.com | $5,000
1/17/2012 MB Financial Justgreattickets.com | $5,000
1/17/2012 Associated Bank Wrigley View $5,000

Tickets

All in violation of Title 31, United States Code, Sections 5324(a)(3).

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COUNT NINE

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

1. The allegations of paragraphs 1(a), (b), and (c) of Count One and paragraphs 1

through 5 of Count Seven are incorporated here.

Ds On or about February 6, 2012, in the Northern District of Illinois, Eastern Division,

RICHARD MARC HAMID,

defendant herein, knowingly and for the purpose of evading the reporting requirements of Title 31,

United States Code, Section 5313(a) and the regulations prescribed thereunder, structured and

assisted in structuring transactions at MB Financial, Republic Bank, and Associated Bank by

depositing and causing to deposit $27,600 in United States currency in amounts under $10,000 as

set forth below:

Date Bank Account Amount
2/6/2012 Republic Bank Mare Hamid $8,000
2/6/2012 MB Financial Marc Hamid $3,000
2/6/2012 MB Financial Mare Hamid $5,600
2/6/2012 MB Financial Justgreattickets.com $5,000
2/6/2012 Associated Bank Wrigley View Tickets | $6,000

All in violation of Title 31, United States Code, Sections 5324(a)(3).

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COUNT TEN

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

1. The allegations of paragraphs 1(a), (b), and (c) of Count One and paragraphs 1
through 5 of Count Seven are incorporated here.

2. On or about July 24, 2012, in the Northern District of Ilinois, Eastern Division,

RICHARD MARC HAMID,

defendant herein, knowingly and for the purpose of evading the reporting requirements of Title 31,
United States Code, Section 5313(a) and the regulations prescribed thereunder, structured and
assisted in structuring transactions at Associated Bank and Republic Bank by depositing and

causing to deposit $19,000 in United States currency in amounts under $10,000 as set forth below:

Date Bank Account Amount
7/24/2012 Associated Bank Wrigley View Tickets | $8,500
7/24/2012 Republic Bank Marc Hamid $7,000

All in violation of Title 31, United States Code, Sections 5324(a)(3).

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COUNT ELEVEN

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

3. The allegations of paragraphs l(a), (b), and (c) of Count One and paragraphs 1
through 5 of Count Seven are incorporated here.

4. On or about September 7, 2012, in the Northern District of Illinois, Eastern
Division,

RICHARD MARC HAMID,

defendant herein, knowingly and for the purpose of evading the reporting requirements of Title 31,
United States Code, Section 5313(a) and the regulations prescribed thereunder, structured and
assisted in structuring transactions at Republic Bank and Associated Bank by depositing and

causing to deposit $16,500 in United States currency in amounts under $10,000 as set forth below:

Date Bank Account Amount
9/7/2012 Associated Bank Wrigley View Tickets | $8,000
9/7/2012 Republic Bank Marc Hamid $8,500

All in violation of Title 31, United States Code, Sections 5324(a)(3).

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COUNT TWELVE

The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

On or about April 15, 2013, in the Northern District of Illinois, Eastern Division, and
elsewhere,

JOSEPH GURDAK,

defendant herein, willfully made, subscribed, and caused to be made and subscribed, a United
States Individual Income Tax Return, Form 1040, for the tax year 2012, which return was
verified by written declaration that it was made under the penalties of perjury and was filed with
the Internal Revenue Service, which return he did not believe to be true and correct as to every
material matter in that he reported $91,340 as his total income on line 22 of his Form 1040,
whereas defendant GURDAK knew his total income substantially exceeded this amount;

In violation of Title 26, United States Code, Section 7206(1).

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FORFEITURE ALLEGATION

The SPECIAL FEBRUARY 2016 GRAND JURY further alleges:

l. The allegations of Counts One through Six of this indictment are incorporated
here for the purpose of alleging forfeiture to the United States pursuant to Title 28, United States
Code, Section 981(a)(1)(C).

oe Asa result of his violation of Title 18, United States Code, Section 1341, as
alleged in this indictment,

RICHARD MARC HAMID,
defendant herein, shall forfeit to the United States pursuant to Title 18, United States Code,
Section 981(a)(1)(C), any and all right, title, and interest he may have in any property
constituting and derived from proceeds obtained directly or indirectly as the result of such
violation.

34 The interests of the defendant subject to forfeiture pursuant to Title 18, United
States Code, Section 981(a)(1)(C), include but are not limited to royalty payments rightfully
owed to the Cubs, sales taxes due and owing to the State of Illinois, and amusement taxes due
and owing to Cook County and the City of Chicago, all unlawfully withheld by Skybox on
Sheffield, in the amount of at least approximately $600,000.

4. If any of the property subject to forfeiture described above, as a result of any act
or omission by defendant:

(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the court;

(d) has been substantiaily diminished in value; or

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(e) has been commingled with other property which cannot be divided
without difficulty;

the United States of America shall be entitled to forfeiture of substitute property pursuant to the
provisions of Title 21, United States Code, Section 853(p), as incorporated by Title 18, United
States Code, Section 982(b)(1), including defendant’s interest in Right Field Properties, LLC,
owner of record of the real property located at 3627 North Sheffield Avenue, Chicago, Illinois,
and defendant’s interest in Right Field Rooftops, LLC, doing business as Skybox on Sheffield,
located at 3627 North Sheffield Avenue, Chicago, Illinois;

All pursuant to Title 18, United States Code, Section 981(a)(1)(C).

A TRUE BILL:

FOREPERSON

UNITED STATES ATTORNEY

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